              Case 2:18-cv-01105-SGC Document 18 Filed 09/21/18 Page 1 of 7                  FILED
                                                                                    2018 Sep-21 PM 04:57
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION


MOUNT ROYAL TOWERS                             )
                                               )
                        Plaintiff,             )
                                               )
                                                   CIVIL ACTION NO. 2:18-CV-
v.                                             )
                                                   01105-SGC
                                               )
STERICYCLE, INC.,                              )
                                               )
                        Defendant.             )

                   RESPONSE TO STERICYCLE'S SUPPLEMENT
                         TO ITS MOTION TO DISMISS
          Plaintiff Mount Royal Towers (“Mount Royal”) responds to Defendant

Stericycle, Inc.’s (“Stericycle”) supplement to its motion to dismiss as follows:

                                     ARGUMENT
          Stericycle rightly points out that this Court is bound to apply Alabama’s

choice-of-law rules. See Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496

(1941). Stericycle then explains how a federal court in Georgia must decide choice-

of-law issues for claims arising under foreign statutes. See Rayle Tech, Inc. v.

DEKALB Swine Breeders, Inc., 133 F.3d 1405, 1410 (11th Cir. 1998). But Stericycle

fails to inform the Court that Alabama has decided that rights arising under foreign

statutes are enforceable in Alabama, so long as they do not conflict with Alabama’s

public policy. See Summit Auto Sales, Inc. v. Draco, Inc., 2017 WL 3896691, at *6



32339577 v1
              Case 2:18-cv-01105-SGC Document 18 Filed 09/21/18 Page 2 of 7



(N.D. Ala. September 6, 2017) (“Alabama enforces rights arising under other states’

laws where those rights do not conflict with Alabama public policy.”) (Bowdre,

C.J.); see also San Francisco Residence Club, Inc. v. Baswell-Guthrie, 897 F. Supp.

2d 1122, 1172 (N.D. Ala. 2012) (“Although Alabama generally follows the principle

of lex loci delicti when determining the substantive law that should govern tort

claims asserted between citizens of different states in an Alabama forum, the

location of the injury is not the only consideration taken into account.”). Both

Summit Auto Sales and Baswell-Guthrie rely on Caine v. St. Louis & S.F.R. Co., 95

So. 876, 877 (Ala. 1923), in which the Alabama Supreme Court held that, “[w]hile

it is recognized that the statutes of another state have no extraterritorial force, yet

rights acquired thereunder will always, in comity, be enforced, if not against the

public policy of the laws of the state where redress is sought.” (emphasis added).

          Most of Stericycle’s argument can be dispensed with by review of Summit

Auto Sales. In that case, Judge Bowdre held that the Maine Used Car Information

Act and the Maine Unfair Trade Practices Act could apply where economic injuries

were primarily felt in Alabama. See WL 3896691, at *6. As here, plaintiff in Summit

Auto Sales alleged fraud claims, and the Court noted that they were governed by

Alabama law because that is where the economic loss was suffered. See id. (citing

Glass v. S. Wrecker Sales, 990 F. Supp. 1344, 1347-48 (M.D. Ala. 1998)). But the

fact that Alabama law governed the fraud claims was no barrier to the application of


32339577 v1                                2
              Case 2:18-cv-01105-SGC Document 18 Filed 09/21/18 Page 3 of 7



Maine statutory law. See id. Defendant there, like Stericycle, argued that Maine law

could not govern tort claims alleging economic injuries felt in Alabama. See id.

Defendant there, like Stericycle, “misapprehend[ed] the nature of [plaintiff’s] UCIA

claim, which detail[ed] a violation of statutory, rather than tort law.” Id. (emphasis

in original). As in Summit Auto Sales, Mount Royal is not precluded from asserting

its rights under the ICFA based on the lex loci delicti doctrine.

          One Alabama federal court has expressly rejected the argument that Alabama

choice-of-law rules preclude enforcement of statutory rights arising under the

Illinois Consumer Fraud Act. See Perry v. Household Retail Servs., Inc., 953 F.

Supp. 1370, 1376-77 (M.D. Ala. 1996) on reconsideration sub nom. Canaday v.

Household Retail Servs., Inc., 119 F. Supp. 2d 1258 (M.D. Ala. 2000), aff'd sub

nom. Perry v. Household Retail, 268 F.3d 1067 (11th Cir. 2001). In Perry, defendant

argued that “choice of law principles prevent the application of the Illinois Consumer

Fraud Act to HRSI because the transaction at issue occurred entirely within the state

of Alabama.” Id. The Court, however, refused even to reach the choice of law

argument “because the Illinois Consumer Fraud Act and the Alabama law of fraud

by suppression and fraud by deceit do not conflict.” Id.1, 2 Taking into account the


         1
           What is more, the Middle District of Alabama held that the ICFA applied to conduct of an Illinois
corporation toward its non-Illinois consumers and refused to grant summary judgment on these grounds. Perry, 953
F. Supp. at 1377. There is no way that Mount Royal’s ICFA count should be dismissed at the motion to dismiss stage.

          2
         “If there is no conflict between the competing bodies of law, … the court need not decide which state’s
laws govern.” Lemuel v. Admiral Ins. Co., 414 F. Supp. 2d 1037, 1050 (M.D. Ala. 2006).



32339577 v1                                             3
              Case 2:18-cv-01105-SGC Document 18 Filed 09/21/18 Page 4 of 7



holdings of Summit Auto Sales and Perry, Stericycle’s argument that the ICFA

cannot apply to Alabama plaintiffs is wholly unpersuasive.

          The only remaining issue is whether application of the ICFA in this instance

would be contrary to Alabama public policy. Stericycle makes two threadbare

arguments that it would: (1) that allowing Mount Royal to pursue both fraud and

ICFA claims would offend Alabama Code § 8-19-15(b); and (2) that allowing a

corporation to recover under the ICFA would offend Alabama public policy. (See

Doc. 17, at 6-7.) The first argument can be dispensed with summarily. Alabama’s

Rules of Civil Procedure, and the Federal Rules, permit Mount Royal to plead its

common-law fraud claims and its ICFA claims alternatively. See Ala. R. Civ. P.

8(e)(2); Fed. R. Civ. P. 8(d)(3); Barcal v. EMD Serono, Inc., 2016 WL 1086028, at

*5 (N.D. Ala. Mar. 21, 2016) (“Although the ADTPA’s savings clause would

preclude [plaintiff] from ultimately obtaining relief under both the ADTPA and her

common law claims,” the Federal Rules of Civil procedure allow inconsistent

pleading and a claim should not be dismissed on these grounds). It does not offend

Alabama public policy to plead common law and statutory claims in the alternative.

          Stericycle’s second argument, that because the ADTPA does not allow

corporations to recover, corporations cannot recover under the ICFA, fares no better.

No Alabama authority supports the proposition that Alabama’s public policy

prohibits Alabama entities from asserting rights arising under the ICFA. See Summit


32339577 v1                                 4
              Case 2:18-cv-01105-SGC Document 18 Filed 09/21/18 Page 5 of 7



Auto Sales, 2017 WL 3896691, at *6. Stericycle does point to Ex parte Exxon Corp.,

725 So. 2d 930 (Ala. 1998), where the Alabama Supreme Court refused to allow

Alabama plaintiffs to represent a class under New Jersey’s consumer fraud laws

because the ADTPA prohibits individuals from bringing a class action for consumer

fraud. Id. at 933. But the Alabama legislature has expressly memorialized its policy

preference that the Alabama Attorney General, and not individuals, should bring

class actions for consumer fraud. See Ala. Code § 8-19-10.

          The Alabama legislature has not, on the other hand, memorialized as Alabama

public policy that an Alabama corporation cannot assert rights arising under the

consumer fraud law of another state when it is injured by a foreign corporation

through conduct occurring primarily and substantially in that corporation’s home

state. Nor is there any indication that the Alabama legislature so intended to override

the public policy of other states, like Illinois, that desire to liberally construe their

consumer protection acts so as to protect all consumers and “to eradicate all forms

of deceptive and unfair business practices.” Malooley v. Alice, 621 N.E. 2d 265, 268

(Ill. Ct. App. 1993); 815 ILCS 505/11a (1998). Stericycle has pointed to no Alabama

policy justification for that position, and Stericycle would have the Court extrapolate

from the fact that only natural persons have standing under Alabama’s DTPA that

the Alabama legislature’s public policy is to strip Alabama entities of rights afforded

to them against out-of-state defendants by the consumer protection laws of other


32339577 v1                                5
              Case 2:18-cv-01105-SGC Document 18 Filed 09/21/18 Page 6 of 7



states. This is a bold leap, and one better made by Alabama lawmakers. See

Restatement (First) of Conflict of Laws § 612 (1934) (“No action can be maintained

upon a cause of action created in another state the enforcement of which is contrary

to the strong public policy of the forum.”) (emphasis added).

                                    CONCLUSION
          Stericycle’s choice-of-law supplement adds nothing to its ineffectual ICFA

arguments. For the reasons stated herein, and for all the reasons stated in Mount

Royal’s response in opposition to Stericycle’s motion to dismiss, the Court should

deny Stericycle’s motion.

          Respectfully submitted August 21, 2018.



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32339577 v1                                6
              Case 2:18-cv-01105-SGC Document 18 Filed 09/21/18 Page 7 of 7



                             CERTIFICATE OF SERVICE
      I hereby certify that I filed the foregoing via CM/ECF, which will effectuate
service on the following counsel of record, on this the 21st day of September, 2018:

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32339577 v1                                7
